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      AF Approva 4Q..le"e'^r                                             ChiefApproval

                                 I,'NTTED STATES DISTRICT COURT
                                   MIDDLE DBTRICT OF FLORIDA
                                        TAMPADIVISION

      UNITED STATES OF AMERICA

                                               CASE NO. 8:2 1-cr-21 8-CEH-AAS

      JOSHUA FISIIER,
             a/k/a "HAMMER"

                                        PI.EAAGREEMENT

             Pursuant to Fed. R. Crim. P. I l(c), the United States of America, by Roger B.

      Handberg, United States Attomey for the Middle District of Florida, and the

      defendant, Joshua Fisher, aod the attomey for the defendant, Jeftey Brown, Esq.,

      mutually agree as follows:

      A-    Particdarizcd Tetms

             1.    Count(s) Pleading To

                   The &fendant shall eoter a plea of guilty to Coune Two, Four, Five,

      and Seven of the Indictment. Count Two charges the deftndant with commining

      assault in aid ofracketeering, in violation of   l8 U.S.C.   g 1959(a)(3). Counts   Four,

      Five, and Seven charge the defendant with knowingly and unlawfully conspiring to

      commit assault in aid of racketeering activity, in violation of 18 U.S.C. $ 1959(a\6).

            2.     Maximum Penalties

                   Count TWo carries a nurximum sentence of 20 years in prison, a fine

     not to exceed $250,000, a term of supervised release not to exceed three years, and a

     special assessment of   $   100.



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                     Counts Four, Five, and Seven carry maximum sentences ofthree years

     in prison, fiaes not to exceed $250,000, terms ofsupewised release not to exceed one

     year, and special assessments ofgl00.

                     With respect to certain offenses, the Court shalt order the defendant to

     make restitution to any victim ofthe offense(s), and with respect to other offenses,

     the court may order the defendant to make restitution to any victim of the offense(s),

     or to the community, as set forth below.

            3.       Elemens of the Offense

                    The defendant acknowledges undl€rsranding the nature and elements         of
     the offenses with which the defendant has been charged and to which the defendant

     is pleading guilty.

                    The elements of Count TSo (Assault in Aid of Racketeering) are:

           First:          The Unforgiven wns an ,,enterprise', as defitred in lg
                           u.s.c. $ lese(bX2);

           Second:         The enterprise engaged in, or its activities affected, intentate
                           or foreign. commerce;

           Third:          The enterprise, through its members and associates,
                           engaged in "racketeering activity" as defined in 18 U.S.C.
                           $$ lese@Xl) and 1961(1);

           Fourth:         The defendant committed a crime of violence, specifically,
                           Assault with Deadly Weapon or With Serious Bodily Injury
                           (Count Two), or Kidnapping (Count Three), which violated
                           either state or federal law; and

           Fifth           The crime of violence was for the purpose of gaining
                           entrance to or maintaining or increasing position ia the
                           enterprise.


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                     The elements of Counts Four, Five, and Seven (Conspiracy to Commit

     Assault in Aid of Racketeeriug) are:

            First             The Unforgiven was an "enterprise" as defined in 18
                              u.s.c. $ leseox2);

            Second:           The enterprise engaged in, or its activities affected, intertate
                              or foreign commerce;

            Third:            The enterprise, through its members and associates,
                              engaged itr "racketeering activity" as defined in l8 U.S.C.   $$
                              l9s9(bxl) and 1961(1);

            Fourth:           the defendant conspired to commit one of the following
                              crimes of violence which violated either state or federal law:

                              a      Assault with a Dangerous Weapon, or
                              b      Assault Resulting in Serious Bodily Injury; and

           Fifth:             The crime of violence was for the purpose of eaidng
                              entranc€ to or maintrining or increasing position ia the
                              enterprise.

           4.        Counts Dismissed

                     At the f me of sentencing, the remaining count agahst the defendant,

     Count Three, will be dismissed pursuant to Fed. R. Crim. P. 11(c)(1XA).

           5.        Agreement as to Sentencing

                     The parties agree that the sentence of each coutrt to which the

     defendant is pleading guilty should be run consecutively to that of each other count.




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            6.     No Further Charges

                   If the Court accepts this plea agreeme[t, the United    States   Attomey's

     Office for the Middle District of Florida agrees not to charge defendant with

     committing any other federal criminal offenses lnown to the United States

     Atromey's Office at the time of the execution of this agreement, telated to the

     conduct giving rise to rhis plea agreement.

            7.     Guidelines Sentence

                   Pursuant to Fed. R. Crim. P.    ll(cXl)@), the United   States   will

     recommend to the Court that the defendant be sentenced within the defendant's

     applicable guidelines range as determined by the Court pursuaot to t}re United States

     Sentencing Guidelines, as adjusted by any departure the United States has agreed to

     recommend in this plea agneement. The parties understand that such a

     recommendation is not binding on the Court and that, if it is not accepted by this

     Court, neither the United States nor the defendant will be allowed to withdraw from

     the plea agreement, aad the defendant will not be allowed to withdraw from the plea

     of guilty.

            8.     Acceptance of Resoonsibitty - Three Levels

                   At the time of sentencing, and in the event that no adverse information

     is received suggesting such a recommendation to be unwarranted, the United States

     will not oppose the defendant's request to the Court that the defendant receive a two-

     level downward adjustment for acceptance of responsibility, punuant to USSG


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      $381.1(a). The defendant understands that this recommendation or request is not

     binding on the Courg and if not accepted by the Court, the defendant will not be

     allowed to withdraw from the plea.

                       Further, at the time of sentencing, if ttre defendant's offense level prior

     to operation ofsubsection (a) is level 16 or greater, and if the defendant complies

     with the provisions of USSG $3El.l@) and all terms of tis Plea Agreement,

     including but not limited to, the timely submission of the financial afrdavit

     referenced   il   Paragraph 8.5., the United States agrees to file a motion pursuant to

     USSG $3E1.1(b) for a downward adjusnnent ofone additional level. The defendant

     understands that the determination as to whether the defendaat has qualified for a

     downward adjusment of a third level for acceptance of responsibility rests solely

     with the United States Attomey for the Middle District of Florida, and the defentlant

     agrees that the defendant cannot and       will not challenge that determination, whether

     by appeal, collateral attack, or otherwise.

     B.     Standaril Terms and Conditions

            1.         Restitution. Special Assessment and Fine

                       The defendant understands and agrees that the Court, in addition to or

     in lieu of any other penalty, shal1 order the defendant to make restitution to any

     victim of tle offense(s), pursuant to l8 U.S.C. S 3663A, for all offenses described in

     18 U.S.C. S 3663A(c)(1); and the Court may order the defendant to make restitution

     to any victim of the offense(s), pursuatrt to 18 U.S.C. S 3663, induding restitution as

     to all counts charged, whether or not the defendant enters a plea of guilty to such
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     coutrts, and whether or not such counts are fismissed pursuant to this agreemetrt.

     The defendant further undentands that compliance with any restitution payment

     plan imposed by the Court in no way precludes the United States from

     simultaneously pursging sther statutory remedies for collecting restitution (28 U.S.C.

     S   3003(bX2), including, but not limited to, gamishment and execution, pursuant to

     the Mandatory Victims Restitution Act, in order to ensure that the defendant's

     restitution obligation is satisfied.

                    On each count to which a plea of guilty is entered, the Court shall

     impose a special assessment pursuant to 18 U.S.C. S 3013. The special assessment is

     due on the date of sentencing.

                    The defendant und€rstands that this agreement imposes no limitation as

     to fine.

             2.     Supervised Release

                   The defendant untlerstands that the otrense(s) to which the defendant is

     pleading provide(s) for imposition of a term of supervised release upon release from

     imprisonment, and that, if the defendant should violate the conditions of release, the

     defendant would be subject to a further term of imprisonment.

             3.     Immigration Consequences of Pleading Guilty

                   The defendant has been advised and understands that, upon conviction,

     a defendant who is not a     United States citizen may be removed from the United

     States, denied citizenship, and denied admission to the United States in the future.




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            4.       Sentencinglnformation

                     The United States reserves its right aad obligation to report to the Court

     and the United States Probation Office all inforrnation conceming the background,

     character, and conduct of the defendant, to provide relevant factual information,

     including the totality of the defendant's criminal activities, if ary, not limited to the

     count(s) to which defend^nt pleads, to respond to co rments made by the defendant

     or defendanfs counsel, and to corect any misstatements or inaccuracies. The

     United States further reserves iB right to make any recommendations it deems

     appropriate regarding the disposition sf this casg, subject to any limitations set forth

     herein, if any.   '


            5.      FinancialDisclosures

                    Pursuant to 18 U.S.C. g 3664(d)(3) and Fed. R. Crim. P. 32(dX2XAXii),

     the defendant agrees to complete and submit to the United States Attorney's Office

     within 30 days of execution of this agreement an affidavit reflecting the defendant's

     financial condition. The defeardant promises that his financial statement and

     disclosures   will be complete, accurate and truthfirl and will include all   assets   in

     which he has any interest or over which the defendant exercises control, directly or

     indirectly, including those held by a spouse, dependent, nominee or other third party.

     The defendant further agrees to execute any documents requested by the United

     States needed to obtain   from any third parties any records ofassets owned by the

     defendant, directly or through a nominee, and, by the execution of this Plea

     Agreement, coffetrts to the release of the defendant's tax returns for the previous five
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     yea$. The defendant similarly    agrees and authorizes the United States       Attomey's

     Office to provide to, and obtain ftom, the United States Probation Office, the

     financial affidavit, any of the defendaot's fedeml, state, and local tax retums, bank

     records and any other financial inforrnation concerning the defendan! for the

     purpose of makiog any recommendations to the Court and for collecting any

     assessments, fines, restitution, or forfeiture ordered by the   Court. The defendant

     expressly authorizes the United States Attomey's Office to obtain curent credit

     reports in order to evaluate the defendant's ability to satisff any financial obligation

     imposed by the Court.

           6.     SentencingRecommendations

                  It is utrderstood by the parties that the Cowt is neither   a   party to nor

     bound by this agreement. The Court may accept or reject the agreement, or defer a

     decision until it has had an opportunity to consider the presenteoce report prepared

     by the United States Probation Office. The ilefendant uDderstands and

     acknowledges that, although the parties are permitted to make recommendations and

     present arguments to the Court, the seotence will be determined solely by the Court,

     with the assistance of the United   States Probation   Office. Defendant further

     understands and acknowledges that any discussions between ddendant or

     defendant's attomey and the attomey or other agents for the govemment regarding

     any recommendations by the govemment are not binding on the Court atrd that,

     should any recommendations be rejected, defendant will not be permitted to

     withdraw defendant's plea pursuant to this plea agreement. The govemmetrt
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     expressly reserves the right to support and defetrd any decision that the Court may

     make with regard to the defendanfs sentence, whether or not such decision is

     consistent with the govemment's recommendations contained hercin.

              7.    Defendant's Waiver of Right to Appeal the Sentence

                    The defendant agress thxl this Court has jurisdiction and authority to

     impose any sentence up to the statutory mardmum and expressly waives the right to

     appeal defetrdant's sentetrce on any ground, iacluding the ground that the Court

     ened in determining the applicable guidelines raage pu$uant to the United States

     Sentenciag Guidelines, except (a) the ground that the sentence exceeds the

     defendant's applicable guidelines rarge as determined by the Court pu$uatrt to the

     United States Sentencing Guidelines; (b) the ground that the sentence exceeds the

     statutory maximum petralty; or (c) the ground that the sentence viotates the Eighth

     Amendment to the Constitution; provided, however, that if the government exercises

     its dght to appeal the sentence imposed, as authorized by 18 U.S.C. g 37,U(b), then

     the defendant is released from his waiver and may appeal the sentence as authorized

     by   18 U.S.C. S 3742(a).

             8.    Middle Disaict of Florida Ageement

                   It is further uoderstood that rhis ageement is limited to flhe Office of the

     United States Attorney for the Middle District of Florida and cannot bind other

     federal, state, or local prosecuting authorities, although trr;s office will bring

     defendant's cooperation, if any, 1o the attention ofother prosecu 'ng officers or

     others, if requested.

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             9.     Filing ofAgreement

                   This agreement shall be presented to the Court, in open court or !g

      camera, in whole or in part, upon a showing ofgood cause, and fiIed in this cause, at

      the time of defendant's entry ofa plea of guilty punuant hereto.

             10.   Voluntariness

                   The defendant acknowledges tlx1 dsfendanf is entering iato rhis

      agreement and is pleading guilty fteely and voluntarily without reliance upon any

      discussions between the attomey for the govemment atrd the clefenrtant and

      defendant's attomey and without promise of benefit of any kind (other than the

      concessions contained herein), and without tbreats, force, intimidation, or coercion

      of any kind. The defendant further acknowledges defendznt's understand.iag of the

     nature of the offense or offenses to which defentlant is pleading guilty and the

     elemef,ts thereof, indudiag the penalties provided by law, and defendant's complete

     satisfaction with the representation and advice received from defendant's

     undersigled counsel (if any). The defendant also understands that defendant has the

     right to plead not guilty or to persist in that plea if it has already been made, and that

     defendant has the right to be tried by a jury with the 2ssi5tan6e ofcounsel, the right

     to confront and cross-examine the witnesses against defendant, the right against

     compulsory self-incrimination, and the right to compulsory process for the

     attendance ofwitnesses to testitr in d€fendant's defense; but, by plearring guilty,

     defendant waives or gives up those rights and there will be no   trial. The defendant
     further undetstands that if defendant pleads guilty, the Court may ask defendant
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      questions about the offense or offenses to which defendant pleaded and if defendant

      answers those questions under oath, on the record and in the presence of counsel           (if
      any), defendant's answers may later be used against defendant in a pros€cution for

      pe{ury or false statement, The defendant also utrderstands that defendant will be

      adjudicated guilty of the offenses to which defendant has pleaded and, if any of such

      ofenses are felonies, may thereby be deprived of certain rights, such as the right to

      vote, to hold public officr, to serve on   a   jury, or to have possession of fireamrs.

             11.    Factual Basis

                    Defendant is pleading guilty because defendant is in fact           guilty. The

      ddendant certifies that defendant does hereby admit that the facts set forth below are

      Eue, and were rhis case to go to trial, the United States would be able to prove those

      specific facts and others beyond a reasonable doubt.

                                                 FACTS

             Prior to the events described in the Counts of the Indictrnent in this case, and

      geatinuing until at least up to and including the date of the Indictment, the

      defendants and others were members and associates ofThe Unforgiven, a violent,

      white-supremacist orgeni?atiotr, whose activities affected interstate and foreign

      corrmence (the Enterprise). The Enterprise had the purposes, and used the means

      and methods, described in the "Introduction" of the Indicment.

            The Enterprise, through   is memben            and associates, engaged in racketeering

      activity as defined in 18 U.S.C. $I 1959(bX1) and 1961(1), namely:



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                        a.                  i[volving murder, in violation of Sections 782.M,
                             acts and rhreats
                             777.011, and777 .04 of the Florida Statutes;

                        b.   acs and threats involvhg kidnapping, in violation of Sections
                             787.01(1)(a), 777.011, Md777.04 of the Florida Starutes;

                        c.   acts irvolviog robbery, in violation of Sections 812.13(1) and
                             777 .0ll the Florida Statutes;


      acts irdictable under the following provisions of federal law,         hduding:

                        d.   18 U.S.C. g 1503 (relating   to obstruction ofjustice); and

                        e.   18 U.S.C. $ 1512 (relating to tampering with witnesses, victims, or
                             informants);

      and offenses involving the felonious manufacture, receiving, coocealment, buying,

      slling, and otherwise dealing in cotrtrolled         subsrances or listed chemicals,   in

      violation   of
                       f.    21 U.S.C. g 841 (distributing and possessing with hrent ro distribute
                             controlled substances); and

                       g. 2l    U.S.C. $ 8116 (conspiracy and attempt to distribute and possess
                             with intent to disto'bute controlled subsrences).

     Unforgiveo members often used Florida Department of Corrections Officials to

     smuggle in controlled substances and other contmband for hcarcerated members                 of
     the Unforgiven and to facilitate or commit acB of violence. Correctional Officers also

     used Unforgiven members to commit acts of violence on their behalf.

            The Enterprise committed violence against perceived racial enemies, as well as

     its own members who failed to abide the Enterprise's constitution and by-laws (its

     code). The Enterprise viewed cooperation with law enforcement as one of the most



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      serious violations of its code, and one which required extreme punishment.
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             The Enterprise often revoked the membership of those who violated its code
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      with extreme violence, including by forcibly defacing the member's patch tattoos or                        i
                                                                                                                 i
                                                                                                                 t
      otherwise violently mutilating the "kill 2eas" areas ofthe bodies bearing those patch

      tattoos.

             Defendant Joshua Fisher was a member of the Council-the state-wide
                                                                                                                 I

      leadership----of the Unforgiven.

                                               Count Two

             On Jaauary    19   , 2019, tire defendent participated in an aggravated assault

      which resulted in serious bodily injury. Levi Sharp hosted a state-wide Unforgiven

      meeting at his home in Satsuma, Florida. The night before the meeting, Maverick

     Maher informed memben '1at they would need !o take C.L.'s patch. So, the

     defendant, Sharp, Maher, George Andrews, and others beat Unforgiven member

     C.L., ostensibly for C.L.'s violation of Unforgiven rules. 1as lgnring Lnocked out

     C.L.'s teeth, gave him a concussion, and caused him to repeatedly lose

     consciousness. While C.L. was held down, Maher forcibly tattooed black ink stains

     over C.L.'s tattoos. The defendant urinated on C.L.'s head. During the bearing, the

     defendaat brandished a fuearm.         6Sl,rr       uru,rv1t   fu   ri1r.t   h   oare4   b 6ran/il[q f/4.
            C.L. was then placed into the defendant's truck with the defetrdant and Shary.

     The defendant began driving toward the woods. C.L., believing that the defendant
                                            frthrr (rtcw6 ffr E5nr b otet                     to"'5r.-1,r,5.
     and Sharp intended to kill him, jumped from the truck and escaped.



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              C.L. was held against his will and understood that he was not ftee to go, either

      and at the residence and during the traosport. Later, the defendant claimed to the

      Council that he would have killed C.L. if they had not been at Sharp's house.

                                                  Count Four

              Between in or around January 2019 and continuing until at least in or around

      htly   2019.,   in the Middle District of Florida and elsewhere, the defendant, along with

      Maverick Maher, Ryan Mclauehlin, George Andrews, II, James Mapoles, Rya.''

      Howard David Howell, Darrin Terranova,                Steve Anderson, and   William Walker,

      discussed, and voted that members of the Unforgiven would commit a violent assault

      on T.B. Specifically members voted to forcibly remove T.B.'s Unforgiven tattoo

      (placed on his neck), and a tattoo on T.B.'s wife. Howell suggested taking T.B.'s

      \dfe's tattoo "completely       off"   The planned assault was in response to allegations

      that T.B. had violated the rules of the Unforgiven and supported the leadership of a

      prior enterprise President. During the discussion, memben made clear that revoking

      T.B.'s membership would likely require violence and possibly even the murder            of
      T.B.

                                                  Co.tf Five
         On or about Feb ruary 1 , 2019 , the defendant and Mclaughlin, along witd other

      members of the Unforgiven Council, conspied to ride through Pasco County to

      gsmmit o(uem6 violence against the Aryan Brotherhood. The defendant specifically

      proposed "bustin bitches' knee caps," "busting bitches' heads wide open," and

      "smanking bitches in the mouth." The defendant held a large socket wrench up while
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      making these proposals. Mclaughlin said that he was on "CRD" (community

      release), but that he loved the family atrd would go anywhere. He said that he would

      take a four-man wrecking crew, " and an "all star team." Maverick Maher directed

      the Couacil to discuss the specific plans oD a more secure messaging app, after which

      Mcl.augfrlia announced to the group that "the "Pasco shit is sealed up. I'll reach out

      to bros I want to come with me." In furtherance of the planned violence against the

      UAB, the defendant proposed talking to incarcerated members of the Unforgiven

      about haviag the UAB eradicated in prison, and getting UAB members "fucked up,

      sliced up, and covered up." The defendaat proposed paying inmates to huft       UAB

      members "for the family. " The defendant quoted Mein Kampf and said that the

      Unforgiven was not a debate club, but a club of action.

                                            Coult Sevetl

             On or around February 11, 2019, the defendant, along with Maverick Maher,

      Steve Anderson, and James Mapoles discussed       violently revoking the patch of H.W.

      Mapoles called for removing H.W.'s patch. Andenon noted that, because H.W. still

      supported a prior president of the Unforgiven (who was ousted for his hesitancy to

      ssmmit vislengs), Anderson himself was ready to commit acts of violence against

      H.W.

             The above is merely a brief summary of the events, some of the persons

      involved, and other informadon rela.'ng to this case and does not include, nor is it

      intended to include , all of the events, p€rsons involved, or other information reliating

     to this case.
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             12.   Fntire Agreement

                   This plea agreemetrt constitutes the entire agreement b€tween the

      govemment and the defendant with respect to the aforementioned guilty plea and no

      other promises, agfeemexrts, or representations exist or have been made to the

      defendant or defendant's attomey with regard to such guilty plea.

             13.   Certification

                   The defetrdant ard defendant's counsel certifr that this plea agreement

      has been read in its entirety by (or has been read to) the defendant and that defendant

      fully undentands its terms.

            oerBn ois      d   0    day   of Jaqqn,4      2022.




                                                     ROGERB. HANDBERG
                                                     United States Attomey


       fue^.w,
      Joshua Fisher
                                                     Samantha E Beckman
      Defendant                                      Assls   United StatCs   Attomey


                                                     J                 r
                                                             United States Attomey
                                                                t Crirnes and
                                                     N       Section (Acting)




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